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                                                          IN THE UNITED STATES DISTRICT COURT
                       14
                                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                       15

                       16      JANE DOE I, et al.,
                                                                            CASE NO. C-02-5570-WHA
                       17                         Plaintiffs,
                       18             v.                                    PLAINTIFFS’ WITNESS LIST
                       19      LAKIREDDY BALI REDDY, et al.,                Pretrial Conf.:   March 22, 2004
                                                                            Time:             2:00 p.m.
                       20                         Defendants.               Place:            Courtroom 9, 19th Floor
                                                                                              Hon. William H. Alsup
                       21
                                                                            Trial Date:       March 29, 2004
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                                                                                                       PLAINTIFFS’ WITNESS LIST
A TTORNEYS A T L A W                                                                                          CASE NO. C-02-5570
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                           1                  Plaintiffs Jane Doe II, Jane Doe VII, Sreekanth Kollipara, and Chanti Jyotsna

                           2   Devi (“Vani”) Prattipati (collectively, “Plaintiffs”) hereby submit the following witness list for

                           3   their case-in-chief pursuant to the Court’s Guidelines for Trial and Final Pretrial Conference in

                           4   Civil Jury Cases:

                           5                                          Plaintiffs’ Witnesses

                           6          1.      Jeff Appleman

                           7                  Jeff Appleman is an attorney in San Francisco specializing in immigration law.

                           8   Mr. Appleman will provide non-cumulative expert testimony about the immigration laws and

                           9   processes implicated by the defendants’ conspiracy to bring Indian nationals into the United

                       10      States on the basis of fraudulent visas.

                       11                     Estimated time: 30 minutes

                       12             2.      Kevin Bales, Ph.D.

                       13                     Kevin Bales is a Professor of Sociology at the University of Surrey, London. Dr.

                       14      Bales will provide non-cumulative expert testimony about the phenomenon of human trafficking.

                       15                     Estimated time: 1.5 hours

                       16             3.      George Borjas, Ph.D.

                       17                     George Borjas is the Robert W. Scrivner Professor of Economics and Social

                       18      Policy at the John F. Kennedy School of Government, Harvard University. Dr. Borjas will offer

                       19      expert testimony regarding the extent of economic damages suffered by the individual plaintiffs.

                       20                     Estimated time: 1.5 hours

                       21             4.      Rosemary Costa

                       22                     Rosemary Costa is a probation officer in the Northern District of California. Ms.

                       23      Costa will offer non-cumulative testimony regarding defendants’ criminal proceedings.

                       24                     Estimated time: 15 minutes

                       25             5.      Keith A. DeBlasi

                       26                     Officer DeBlasi is a member of the Berkeley Police Department. He will provide

                       27      non-cumulative testimony about defendants and their agents’ behavior at 2020 Bancroft on

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                                                                                                    MOTION IN LIMINE – CASE NO. C-02-5570
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                           1   November 24, 1999 and later at Alta Bates Hospital, as well as about what he observed inside

                           2   Apartment 228 at 2020 Bancroft Way.

                           3                  Estimated time: 30 minutes

                           4          6.      Jane Doe II

                           5                  Jane Doe II is an individual plaintiff. This witness will require a translator.

                           6                  Estimated time: 4 hours

                           7          7.      Jane Doe VII

                           8                  Jane Doe VII is an individual plaintiff. This witness will require a translator.

                           9                  Estimated time: 2 hours

                       10             8.      Lakshmi Galireddy

                       11                     Lakshmi Galireddy is a former employee of the defendants. She will provide

                       12      non-cumulative percipient witness testimony regarding Jane Doe II and Vani’s claims. This

                       13      witness will require a translator.

                       14                     Estimated time: 45 minutes

                       15             9.      Dr. Robert Golomb

                       16                     Robert Golomb is a doctor at Alta Bates Emergency Room. He treated both Vani

                       17      and Jane Doe II on November 24, 1999, and will provide non-cumulative testimony thereabout.

                       18                     Estimated time: 20 minutes

                       19             10.     Don Henley

                       20                     Don Henley is an agent with the agency formerly known as the INS. Mr. Henley

                       21      will provide non-cumulative testimony regarding the investigation of defendants by law

                       22      enforcement agencies.

                       23                     Estimated time: 30 minutes

                       24             11.     Carol Hyland

                       25                     Ms. Hyland is a vocational rehabilitation expert. She will provide non-cumulative

                       26      expert testimony regarding Jane Doe II’s lifetime work capacity and wage-earning potential.

                       27                     Estimated time: 30 minutes

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                           1          12.     Dr. Gilbert Kliman

                           2                  Dr. Kliman, an expert retained by defendants, will provide non-cumulative

                           3   testimony about his psychiatric evaluation of Jane Doe II. Plaintiffs intend to use his deposition

                           4   testimony.

                           5                  Estimated time: 2 hours

                           6          13.     Sreekanth Kollipara

                           7                  Mr. Kollipara is an individual plaintiff.

                           8                  Estimated time: 1 hour, 30 minutes

                           9          14.     Venkateswara Reddy Lakireddy

                       10                     Mr. Lakireddy is an individual defendant. Plaintiffs intend to use his deposition

                       11      testimony.

                       12                     Estimated time: 30 minutes

                       13             15.     Vijay Kumar Lakireddy

                       14                     Mr. Lakireddy is an individual defendant. Plaintiffs intend to use his deposition

                       15      testimony.

                       16                     Estimated time: 1 hour, 30 minutes

                       17             16.     Prasad Lakireddy

                       18                     Mr. Lakireddy is an individual defendant. Plaintiffs intend to use his deposition

                       19      testimony.

                       20                     Estimated time: 1 hour, 30 minutes

                       21             17.     Jayaprakash Reddy Lakireddy

                       22                     Mr. Lakireddy is an individual defendant. Plaintiffs intend to use his deposition

                       23      testimony.

                       24                     Estimated time: 1 hour

                       25             18.     Susilpa Lakireddy

                       26                     Mrs. Lakireddy is the wife of defendant Vijay Lakireddy. She was a percipient

                       27      witness and will provide non-cumulative testimony to her husband’s involvement and elements

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                           1   of plaintiffs Jane Doe VII and Sreekanth Kollipara’s claims. This witness may require a

                           2   translator.

                           3                  Estimated time: 20 minutes

                           4           19.    Kay Lantow

                           5                  Kay Lantow is a retired Berkeley Police Department member who was brought

                           6   into the investigation in the beginning of 2000. She will provide non-cumulative testimony

                           7   about the investigation interviews of the victims that she attended in 2000.

                           8                  Estimated time: 30 minutes

                           9           20.    Dr. Anna Lembke

                       10                     Anna Lembke is a board-certified psychiatrist licensed to practice in California,

                       11      currently a Staff Physician in the Department of Psychiatry and Behavioral Sciences at Stanford

                       12      University School of Medicine. Dr. Lembke will provide non-cumulative testimony regarding

                       13      her psychiatric evaluation of Sreekanth Kollipara.

                       14                     Estimated time: 30 minutes

                       15              21.    Claudia Locsin

                       16                     Ms. Locsin was a counselor at the Family Study Center who evaluated Jane Doe

                       17      II in May of 2001. She will provide non-cumulative testimony as to the emotional impact of

                       18      defendants’ actions upon Jane Doe II.

                       19                     Estimated time: 20 minutes

                       20              22.    Calvin Mettler

                       21                     Mr. Mettler is a Berkeley Fire Department paramedic who was called to the scene

                       22      of the carbon monoxide poisoning. Mr. Mettler treated a victim and will provide non-cumulative

                       23      testimony as to his interactions with and observations of the defendants and their agents at 2020

                       24      Bancroft Way and later at Alta Bates Hospital.

                       25                     Estimated time: 30 minutes

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                                                                                                              PLAINTIFFS’ WITNESS LIST
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                           1          23.     Paul Meyer

                           2                  Mr. Meyer is a certified public accountant who has examined defendants’

                           3   business, payroll, and other records. Mr. Meyer will provide expert testimony regarding

                           4   defendants’ wage practices, accounting practices, and net worth.

                           5                  Estimated time: 1.5 hours

                           6          24.     Dr. Harish Murthy

                           7                  Dr. Murthy is a Telegu-speaking doctor. He was on call for the intensive care

                           8   unit at Alta Bates Hospital on November 24, 1999. He treated Jane Doe II and spoke with

                           9   defendants and their agents at the hospital.

                       10                     Estimated time: 20 minutes

                       11             25.     Garen Nielsen

                       12                     Sergeant Nielsen is recently retired from the Berkeley Police Department. He

                       13      was transferred to this investigation in December of 1999 and will provide non-cumulative

                       14      testimony that he was present during the January 11 and 14, 2000 interviews of the victims. He

                       15      was present at the search of L.B. Reddy and Vijay’s home on Elmwood in Berkeley. He also

                       16      arrested L.B. Reddy.

                       17                     Estimated time: 30 minutes

                       18             26.     Kalpana Peddibhotla

                       19                     Ms. Peddibhotla was a volunteer attorney with the ACLU who provided

                       20      assistance to Jane Doe II and her family. She will provide non-cumulative testimony as to the

                       21      condition of Jane Doe II and her family after L.B. Reddy’s arrest.

                       22                     Estimated time: 15 minutes

                       23             27.     Lakshmi Prattipati

                       24                     Ms. Prattipati is the mother and successor in interest to Chanti Jyotsna Devi

                       25      (“Vani”) Prattipati. She will provide non-cumulative testimony regarding her and her daughters’

                       26      contact with the defendants and their agents. This witness will require a translator.

                       27                     Estimated time: 1.5 hours

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                           1          28.     Jarmani Prattipati

                           2                  Mr. Prattipati is the father and successor in interest to Vani Prattipati. He will

                           3   provide non-cumulative testimony regarding his and his daughters’ contact with the defendants

                           4   and their agents. This witness will require a translator.

                           5                  Estimated time: 1.5 hour

                           6          29.     Len Raphael

                           7                  Mr. Rafael is a certified public accountant employed by the defendants. He will

                           8   provide non-cumulative testimony regarding the defendants’ accounting practices.

                           9                  Estimated time: 30 minutes

                       10             30.     Lakireddy Bali (“L.B.”) Reddy

                       11                     L.B. Reddy is an individual defendant. Plaintiffs intend to use his deposition

                       12      testimony.

                       13                     Estimated time: 1 hour, 30 minutes

                       14             31.     Joseph G. Sanchez

                       15                     Joseph Sanchez is a detective for the Berkeley Police Department who was on the

                       16      scene at 2020 Bancroft. He will provide non-cumulative testimony of what he observed at the

                       17      scene and when he interviewed defendants in early December of 1999.

                       18                     Estimated time: 30 minutes

                       19             32.     Dr. Barbara Sommer

                       20                     Barbara Sommer is a board-certified psychiatrist licensed to practice in

                       21      California, currently a Staff Physician in the Department of Psychiatry and Behavioral Sciences

                       22      at Stanford University School of Medicine. Dr. Sommer will provide non-cumulative testimony

                       23      regarding her psychiatric evaluation of Jane Doe VII.

                       24                     Estimated time: 30 minutes

                       25             33.     Dr. David Spiegel

                       26                     Dr. Spiegel is a board-certified psychiatrist, licensed to practice in California,

                       27      Willson Professor in the School of Medicine and Associate Chair of Psychiatry and Behavioral

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                                                                                                                PLAINTIFFS’ WITNESS LIST
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                           1   Sciences at Stanford University School of Medicine. Dr. Spiegel will provide non-cumulative

                           2   expert testimony in the form of a psychiatric evaluation of Jane Doe II.

                           3                  Estimated time: 1.5 hours

                           4           34.    Robert Teebay

                           5                  Mr. Teebay is the Senior Crime Scene Technician for the City of Berkeley. He

                           6   will provide non-cumulative testimony regarding what he observed and photographed inside and

                           7   outside Apartment #228 at 2020 Bancroft and at Alta Bates Hospital.

                           8                  Estimated time: 20 minutes

                           9           35.    Venkataswara Reddy Thallapareddy

                       10                     Venkataswara Reddy Thallapareddy is an employee of defendants’ at Jay

                       11      Construction. He will provide non-cumulative testimony, via deposition, regarding Jane Doe II

                       12      and Vani Prattipati’s work for defendants.

                       13                     Estimated time: 10 minutes

                       14              36.    Venkateswara Reddy Vemireddy

                       15                     Venkateswara Reddy Vemireddy is a former employee of the defendants.

                       16      Plaintiffs believe that Mr. Vemireddy is currently in India and intend to use his deposition in lieu

                       17      of live testimony. Mr. Vemireddy will provide non-cumulative testimony regarding defendants’

                       18      conspiracy to transport Jane Doe II and Vani into the United States with the intent to engage in

                       19      sexual activity with them.

                       20                     Estimated time: 45 minutes

                       21              37.    Kamala Visweswaran, Ph.D.

                       22                     Kamala Visweswaran is a Professor of Cultural Anthropology at the University of

                       23      Texas at Austin. Dr. Visweswaran will provide non-cumulative expert testimony regarding the

                       24      social, economic, political, historical, and cultural factors in Southeast India that are relevant to

                       25      this case.

                       26                     Estimated time: 2 hours

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                           1            38.   Bob Young

                           2                  Bob Young is a retired Berkeley Fire Department paramedic who was called to

                           3   the scene of the carbon monoxide poisoning. Mr. Young will provide non-cumulative testimony

                           4   regarding his treatment of Vani Prattipati and regarding what he observed at Alta Bates Hospital

                           5   following his arrival.

                           6                  Estimated time: 20 minutes

                           7            39.   Allen Yuen

                           8                  Allen Yuen is a sergeant for the Berkeley Police Department. Sergeant Yuen will

                           9   provide non-cumulative testimony regarding his observations inside and outside 2020 Bancroft

                       10      Way #228 and may be called to authenticate photographs he took at the scene and at Alta Bates

                       11      Hospital.

                       12                     Estimated time: 15 minutes

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                       15      Dated: March 15, 2004                           ALTSHULER, BERZON, NUSSBAUM,
                                                                               RUBIN & DEMAIN
                       16
                                                                               LATHAM & WATKINS LLP
                       17
                                                                               By ____/s/_________________________
                       18                                                         Randall T. Kim
                                                                                  Attorneys for Plaintiffs
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